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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

 CALEB BARNETT, et al.,
      Plaintiffs,
              vs.
                                                       Case No. 3:23-cv-209-SPM
 KWAME RAOUL, et al.,
                                                       ** designated Lead Case
      Defendants.

 DANE HARREL, et al.,
      Plaintiffs,
              vs.
                                                       Case No. 3:23-cv-141-SPM
 KWAME RAOUL, et al.,
      Defendants.

 JEREMY W. LANGLEY, et al.,
      Plaintiffs,
              vs.                                      Case No. 3:23-cv-192-SPM
 BRENDAN KELLY, et al.,
      Defendants.

 FEDERAL FIREARMS
 LICENSEES OF ILLINOIS, et al.,
      Plaintiffs,
                                                       Case No. 3:23-cv-215-SPM
              vs.
 JAY ROBERT “JB” PRITZKER, et al.,
      Defendants.

    STATE DEFENDANTS’ RESPONSE TO MOTION FOR LEAVE TO AMEND IN
          FEDERAL FIREARMS LICENCEES OF ILLINOIS v. PRITZKER
       The plaintiffs in Federal Firearms Licensees of Illinois v. Pritzker, No. 3:23-cv-215-SPM

(hereinafter, “FFL”), one of the partially consolidated actions captioned above, moved for leave

to file an amended complaint (“Motion for Leave”) with additional claims on October 25, 2023.

FFL ECF 49. On October 26, 2023, the Court initially ordered the defendants in the FFL action—

Governor JB Pritzker, Attorney General Kwame Raoul, and Director of the Illinois State Police

(“ISP”) Brendan Kelly (collectively, “State Defendants”)—to respond to the Motion for Leave by

November 6, 2023. FFL ECF 50. The next day, October 27, the Court moved up the deadline for
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the State Defendants to respond to the Motion for Leave to November 1, 2023. FFL ECF 51. In

accordance with the Court’s modified deadline, the State Defendants now provide this response to

the Motion for Leave.

       The State Defendants believe that the allegations and claims that the FFL plaintiffs seek to

add through their amended complaint are meritless, making amendment futile under Rule 15. See

Garner v. Kinnear Mfg. Co., 37 F.3d 263, 269 (7th Cir. 1994) (“While leave to amend should be

freely given when justice requires, district courts have broad discretion to deny motions to amend

in cases of undue delay, bad faith or dilatory motives, repeated failure to cure deficiencies by

amendments previously allowed, undue prejudice or futility.”) Nonetheless, since learning of the

FFL plaintiffs’ intent to amend their complaint and seek immediate injunctive relief based on that

pleading, the State Defendants have been engaged in discussions with counsel for the FFL

plaintiffs regarding the Motion for Leave and their forthcoming preliminary injunction motion

(“Second Preliminary Injunction Motion”) to streamline proceedings for the parties and the Court.

Through these discussions, the State Defendants have endeavored to reach an agreed-upon

schedule that would enable the parties to adequately brief the FFL plaintiffs’ Second Preliminary

Injunction Motion prior to January 1, 2024—the statutory deadline for filing endorsement

affidavits under the Protect Illinois Communities Act that the FFL plaintiffs now seek to challenge.

       Consistent with these objectives, the State Defendants have agreed not to oppose the

Motion for Leave under Rule 15, while reserving their rights to challenge the sufficiency of the

proposed amended complaint under Rule 12, based on the FFL plaintiffs’ agreement to the

following, subject to the Court’s approval:

       1. The FFL plaintiffs agree that the State Defendants may have 90 days from the Court’s
          granting of the Motion for Leave to answer or otherwise plead to the FFL plaintiffs’
          amended complaint; and



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       2. The FFL plaintiffs agree and do not object to the State Defendants having up to and
          including December 1, 2023, to respond to the forthcoming Second Preliminary
          Injunction Motion, which the FFL plaintiffs agree to file no later than November 3,
          2023.

Based on the terms agreed upon by counsel, the State Defendants do not oppose the Motion for

Leave and respectfully request that the Court enter a scheduling order consistent with these

proposed terms.

       The State Defendants note that they have agreed to the briefing schedule proposed above

based on the current status of these partially consolidated actions. Should any plaintiff in these

partially consolidated actions seek leave to amend, file a preliminary injunction motion, or seek

judgment on any claim between now and January 1, 2024, the State Defendants reserve all rights

to seek additional time to respond to the FFL plaintiffs’ Second Motion for Preliminary Injunction

or to obtain other appropriate relief from the Court.

       Subject to the foregoing, the State Defendants do not oppose the Motion for Leave and

request that the Court enter a scheduling order allowing them: (i) 90 days from the allowance of

the FFL plaintiffs’ amended complaint to answer or otherwise plead; and (ii) up to and including

December 1, 2023, to respond to the FFL plaintiffs’ forthcoming Second Motion for Preliminary

Injunction, which the FFL plaintiffs agree to file on or before November 3, 2023.

Date: November 1, 2023                                  Respectfully submitted,
                                                        /s/ Christopher G. Wells
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